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                                                                                                   FILED
                                                                                                US DISTRICT COURT
                                                                                            EASTERN DISTRICT ARKANSAS
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS        AUG 21 2014
                                  WESTERN DIVISION
                                                             ~AMES W. McCO~, CLERK
MARY REEVES                                                                            y.         PLAIN'            DEP CLERK


vs.                              CASE NO.      l\'.\L\ C>J 4~   J'ffi
COLOR SPOT NURSERIES, INC.;                                                                  DEFENDANTS
and JONATHAN A. HART

                                            COMPLAINT

        Comes the Plaintiff, Mary Reeves, by and through her attorneys, Penny Collins Choate

and CHOATE LAW FIRM, PLLC, and for her Complaint, states:                                        . .        ~
                                                                        fhi.:c case assigned to D1stnct Judge
                                                Parties                 -.: : <·~· IV)p,gistrate ,lud~:Jfc~. - .-   • -   -     ~-

         1.       Plaintiff Mary Reeves is a citizen and resident of Pangburn, Cleburne County,

Arkansas.

        2.        Defendant Color Spot Nurseries, Inc. is a Delaware corporation with its corporate

offices at 27368 Via Industria, Suite 201, Temecula, California 92590.

        3.        Defendant Jonathan A. Hart is an individual who is a resident of Bullard, Texas.

                                           Jurisdiction and Venue

        4.        Jurisdiction of this matter is proper in this Court pursuant to 28 U.S.C. §1332, due

to diversity of citizenship between the parties and the amount of controversy exceeds the sum of

$75,000.00 exclusive of interests and costs.

        5.        Venue ofthis action is properly in this Court pursuant to 28 U.S.C. §139l(b)(2) as

the "judicial district in which a substantial part of the events or omissions giving rise to the claim

occurred .... "

                                             Factual Background

        6.        Defendant Color Spot Nurseries, Inc. has various facilities in California and



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    Texas. Specifically, Color Spot Nurseries, Inc. has a facility located at 15255 State Highway

    110N, Troup, Texas 75789.

            7.       Defendant Color Spot Nurseries, Inc. employs various drivers to transport product

    to stores in several states.

            8.       Based upon the police report, Defendant Jonathan A. Hart was driving for Powell

    Plant Farms, a company which was purchased by Color Spot Nurseries, Inc. in 2007 and

    therefore at the time of the accident was driving for Color Spot Nurseries, Inc.

            9.       On May 20, 2013, at approximately 2:11p.m., Plaintiff Mary Reeves, was driving

    a 2007 Hummer H3 which was traveling northbound on Highway 16 in White County, Arkansas

    approximately seven (7) miles north of the City of Searcy.

            10.      At such time and place, Defendant Jonathan A. Hart, was driving a 2010

    International Prostar diesel tractor with trailer and was traveling northbound on Highway 16 in

    White County, Arkansas approximately seven (7) miles north of the City of Searcy, when he

    carelessly and negligently rear-ended the vehicle that Plaintiff Mary Reeves was driving causing

    Plaintiffs vehicle to leave the roadway and hit a large tree.

            11.      The police report reflects that it was daylight and that the road conditions were

    clear and dry at the time of the accident and that Defendant Jonathan A. Hart was cited for

    careless and prohibitive driving.

                                        COUNT 1: NEGLIGENCE

            12.      Paragraphs one (1) through eleven (11) are incorporated herein as if fully set out

    word for word.

            13.      Defendant Jonathan A. Hart was guilty of negligence which was the proximate

    cause of the above described automobile collision. Specifically, the negligent acts included:




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               (a)    Defendant Hart's failure to keep the automobile he was driving under
                      proper control; and

               (b)    Defendant Hart's failure to keep a proper lookout while driving.

       14.     The Defendant Color Spot Nurseries, Inc., was guilty of negligence which was the

proximate cause of the above described automobile collision under the doctrine of respondeat

superior as the employer of Defendant Jonathan A. Hart.          Specifically, the negligent acts

included:

               (a)    Defendant Hart's failure to keep the automobile he was driving under
                      proper control; and

               (b)    Defendant Hart's failure to keep a proper lookout while driving.

       15.     As a direct and proximate result of the negligence of Defendant Color Spot

Nurseries, Inc.'s employee, Defendant Jonathan A. Hart, the Plaintiff Mary Reeves, suffered

significant injuries and was transported by NorthStar EMS to White County Medical Center.

Plaintiff suffered head trauma, bruising on her right collar bone, bruising on her left hip and

extensive contusions to the knee and shin area on both legs. Plaintiff continues to suffer from

short-term memory loss, flashbacks and extreme emotional distress.

                                            Damages

       16.     As a direct and proximate result of the negligent acts of Defendant Jonathan A.

Hart, whose actions are imputed to Defendant Color Spot Nurseries, Inc., Plaintiff Mary Reeves

has suffered medical damages in excess ofthe sum of$21,393.90.

       17.     As a direct and proximate result of the negligent acts of Defendant Jonathan A.

Hart, whose actions are imputed to Defendant Color Spot Nurseries, Inc., Plaintiff Mary Reeves

has experienced and continues to experience pain and suffering related to her injuries.

       18.     As a direct and proximate result of the negligent acts of Defendant Jonathan A.




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Hart, whose actions are imputed to Defendant Color Spot Nurseries, Inc., Plaintiff Mary Reeves

has suffered extreme mental anguish.

       19.     The tortious conduct that was committed by Defendant Color Spot Nurseries,

Inc.'s employee, Defendant Jonathan A. Hart, was egregious and oppressive and characterized

by malice or wantonness justifying the imposition of punitive damages therefor.

       20.     The imposition of punitive damages for the egregious and tortious conduct of

Defendant Color Spot Nurseries, Inc.'s employee, Defendant Jonathan A. Hart, is justified on the

grounds that Defendant Color Spot Nurseries, Inc. was reckless or wanton in properly training its

employees regarding the rules of the road and safe operation of a commercial vehicle.

       21.     As a direct and proximate result of the negligent acts of Jonathan A. Hart, whose

actions are imputed to Defendant Color Spot Nurseries, Inc., Plaintiff Mary Reeves has suffered

total damages in excess of the amount required for federal diversity jurisdiction.

                                         Jury Trial Demand

       22.     Plaintiff requests a jury trial.

                                  Reservation of Right to Amend

       23.     Plaintiff reserves the right to amend her pleadings to conform to further facts

developed through discovery.

       WHEREFORE, Plaintiff Mary Reeves, individually, requests entry of judgment against

the Defendant Jonathan A. Hart and Defendant Color Spot Nurseries, Inc., in the sum of

$1,000,000.00 and Plaintiff Mary Reeves, requests entry of judgment against the Defendants in

the sum of $1,000,000.00. Plaintiff should also be awarded her attorney's fees and costs and all

other proper relief to which she may be entitled.




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                    Respectfully Submitted,

                    Mary Reeves




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